                    Case 1:25-cv-00946-CKK                     Document 21       Filed 04/04/25            Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:25-cv-946

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Commissioner Christy McCormick, Election Assistance Commission

 was received by me on (date)                     04/01/2025          .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

          ✔
          u Other (specify): On April 1, 2025, sent via USPS Certified Mail copies of the complaint, summons, and other
                                   docket items in accordance with Fed. R. Civ. P. 4(i) (see additional information below)
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:          04/04/2025                                                            /s/ Lauren Sutherland
                                                                                            Server’s signature

                                                                                  Lauren Sutherland, Paralegal
                                                                                        Printed name and title

                                                                                     Campaign Legal Center
                                                                                   1101 14th St. NW, Suite 400
                                                                                     Washington, DC 20005
                                                                                            Server’s address

 Additional information regarding attempted service, etc:
  Attached are the Certified Mail receipt and electronic delivery confirmation showing proof of service of copies of the
  complaint, summons, and other docket entries.
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              Case 1:25-cv-00946-CKK          Document 21        Filed 04/04/25      Page 3 of 3
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